                          Case 22-14766-SMG                     Doc 89-1           Filed 12/27/22            Page 1 of 4

CGFA1 (10/12/2018)



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov

                                                                                                                Case Number: 22−14766−SMG
                                                                                                                Chapter: 13




In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Ralph Levi Sanders Jr.
561 SW 60 Ave.
Plantation, FL 33317

SSN: xxx−xx−6171




                           Clerk's Certificate of Mailing of Notice of Appeal


To:

Office of the U.S. Trustee, Room 1204 Claude Pepper Federal Bldg 51 SW 1st Ave Miami FL 33130

Gavin N Stewart
POB 5703
Clearwater, FL 33758

Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317


      I hereby certify, that pursuant to Bankruptcy Rule 8003, a copy of the attached
Notice of Appeal filed on 12/27/2022 was mailed on 12/29/22 to the above named
parties.


Dated:12/27/22                                                               CLERK OF COURT
                                                                             By: Tanesha Graster−Thomas
                                                                             Deputy Clerk (954) 769−5700


Enclosures:       Clerk's Instructions for Appeals
                  Transcript Request Form
                  Copy of Appeal




                                                                    Page 1 of 4
               Case 22-14766-SMG          Doc 89-1      Filed 12/27/22     Page 2 of 4



                           United States Bankruptcy Court
                             Southern District of Florida
                               www.flsb.uscourts.gov
                        CLERK'S INSTRUCTIONS FOR APPEALS

1.   All notices of appeal filed in the Bankruptcy Court under Federal Rule of Bankruptcy Procedure
     8003 and 8004 shall be transmitted promptly to the Clerk of the District Court for docketing and
     the opening of a new civil case [See U.S. District Court Local Rule 87.4]. Within 14 days after filing
     the notice of appeal or entry of an order disposing of the last timely motion of a type specified in
     Bankruptcy Rule 8002(b) (whichever is later), or entry of an order by the District Court granting
     leave to appeal, the appellant shall file with the clerk of the bankruptcy court a designation of the
     items to be included in the record on appeal and a statement of issues to be presented
     (Bankruptcy Rule 8009). Failure to timely file this designation and statement of issues may
     result in dismissal of the appeal pursuant to this court's Local Rule 8009−1(A) and Local
     Rule 87.4(c), United States District Court, Southern District of Florida. The designation shall
     include the title and docket number of each paper designated.



2.   Within 14 days after the service of the designation and the statement of issues the appellee may
     file and serve on the appellant a designation of additional items to be included in the record on
     appeal, and if the appellee has filed a cross appeal, the appellee as cross appellant shall file and
     serve a statement of issues to be presented on the cross appeal, and a designation of additional
     items to be included in the record. The appellee's designation shall include the title and docket
     number of each additional item designated.



3.   If any transcripts of untranscribed proceedings are designated by a party, that party shall
     immediately, upon the filing of the designation, order the transcript(s) from the court reporter and
     make satisfactory arrangements for payment of its costs. All transcript orders must be made on
     the local form "Transcript Request Form" enclosed for this purpose, and a copy filed with the clerk
     at the time of filing the designation (Bankruptcy Rule 8009). On receipt of a request for a
     transcript, the reporter shall complete the Reporter's Acknowledgment and file a copy with the
     clerk (Bankruptcy Rule 8010). [See also "Guidelines on Electronic Availability of Transcripts and
     Procedures for Transcript Redaction."]



4.   When the record is complete for purposes of the appeal, the bankruptcy clerk will electronically
     transmit the record to the clerk of the district court. Once the record has been transmitted to the
     district court, any subsequently filed document relating to the appeal must be filed in the district
     court.



5.   Motions For Leave To Appeal (Bankruptcy Rule 8004). The clerk will electronically transmit the
     motion, notice of appeal and any answer to the clerk of the district court as soon as all parties
     have filed answers or the time for filing an answer has expired. The designation and statement of
     the issues should not be filed with the clerk of the bankruptcy court as required under Bankruptcy
     Rule 8009, until entry of an order by the district court granting leave to appeal (Local Rule
     8004−1).


                                             Page 2 of 4
                       Case 22-14766-SMG                  Doc 89-1           Filed 12/27/22         Page 3 of 4

                                     UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov

                                               Transcript Request Form
Submit this form to the transcription company by email, fax or postal mail: Attn: __________________________

Transcriber: _________________________________________________________________________________

Email: _______________________________ Telephone: ____________________ Fax: ___________________

Case Number: _______________________ Adversary Number: __________________ Judge: _______________

Date of Hearing or Trial: ____________________________ Time of Hearing or Trial: _____________________

Debtor(s) Name: _____________________________________________________________________________

          The transcript being requested is included as a designated item for a pending appeal [Docket
          Entry # _______]. (If this box is checked, the requestor must also file this form with the
          clerk pursuant to Bankruptcy Rule 8009. The transcriber is responsible for notifying the
          clerk by electronic docket entry in the case the date the request was received and the
          date on which the transcriber expects to have the transcript completed (See Bankruptcy
          Rule 8010).

Select Delivery Method:

Check                                                                          First Copy to Each    Each Additional Copy
Box
                                                             Original                 Party            to the Same Party
Below                                                      [cost per page]
                                                                                  [cost per page]        [cost per page]

        Ordinary Transcript
        A transcript to be delivered within thirty (30)       $3.65                  $0.90                  $0.60
        calendar days after receipt of an order.
        14−Day Transcript
        A transcript to be delivered within fourteen          $4.25                  $0.90                  $0.60
        (14) calendar days after receipt of an order.
        7−Day Transcript
        A transcript to be delivered within seven (7)         $4.85                  $0.90                  $0.60
        calendar days after receipt of an order.
        3−Day Transcript
        A transcript to be delivered within three (3)         $5.45                  $1.05                  $0.75
        calendar days after receipt of an order.
        Daily Transcript
        A transcript to be delivered following
        adjournment and prior to the normal opening           $6.05                  $1.20                  $0.90
        hour of the court on the following morning
        whether or not it actually is a court day.
        Hourly Transcript
        A transcript of proceedings ordered under             $7.25                  $1.20                  $0.90
        unusual circumstances to be delivered within
        two (2) hours.



                                                             Page 3 of 4
                     Case 22-14766-SMG               Doc 89-1    Filed 12/27/22       Page 4 of 4

By submitting this request, it is understood that:

      • A separate order must be placed for each transcript being requested.
      • All transcript requests must be submitted directly to the transcriber. Do not contact the clerk's office regarding
        the status of a request.
      • It is the responsibility of the requestor to verify that the transcript has not already been filed with the court.
      • It is the responsibility of parties to request redaction. See Local Bankruptcy Rule 5005−1(A)(2)(b), Local
        Form "Notice of Intent to Request Redaction of Transcript" (LF−61) and "Guidelines on Electronic
        Availability of Transcripts and Procedures for Transcript Redaction" (CG−11).


Print Your Name: _____________________________________________________________________________

Mailing Address: _____________________________________________________________________________

Email Address: ____________________________________________ Telephone No.: ___________________



                                                       Page 4 of 4
